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             Exhibit B
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 1                         IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
 2                                    AUSTIN DIVISION
 3   CODY DAHL and TONYA COLE DAHL,                     §
     Individually and as Executors / Administrators     §
 4   of the Estate of ABIGAIL OPAL DAHL, a              §
     deceased minor child,                              §
 5                                                      §
                    Plaintiffs,                         §
 6                                                      §
     v.                                                 §
 7                                                      §
     ALPHABET, INC., DISCORD, INC.,                     §
 8   GOOGLE, LLC, dba Duo/Meet, Gboard,                 §
     Youtube, and all subsidiaries, HOLLA               §
 9   GROUP, LTD., dba Monkey, SNAP INC., dba            §
     SNAPCHAT, JOHN & JANE DOES 1-10,                   §
10   Corporate COS., 1-10,                              §
                                                        §
11                  Defendants.                         §
                                                        §
12

13                  CONSENT OF DEFENDANT SNAP INC. TO REMOVAL

14
           Defendant Snap Inc. consents to removal of the above captioned case to federal court.
15

16                                            MUNGER, TOLLES, & OLSON LLP
17

18
                                              By:
19                                                    John B. Major (pro hac vice forthcoming)
20                                                    350 South Grand Avenue, 50th Floor
                                                      Los Angeles, California 90071-3426
21                                                    TEL:     (213) 683-9100
                                                      FAX:     (213) 687-3702
22                                                    Email: john.major @mto.com
23
                                              ATTORNEYS FOR SNAP INC.
24

25

26

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                                                    -1-
                           CONSENT OF DEFENDANT SNAP INC. TO REMOVAL
            Case 1:23-cv-01496 Document 1-2 Filed 12/11/23 Page 3 of 4




                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 CODY DAHL and TONYA COLE DAHL,
 Individually and as Executors /
 Administrators of the Estate of ABIGAIL
 OPAL DAHL, a deceased minor child,

        Plaintiffs,

 v.                                                         Civil Action No. _________________

 ALPHABET, INC., DISCORD, INC.,
 GOOGLE, LLC, dba Duo/Meet, Gboard,
 Youtube, and all subsidiaries, HOLLA
 GROUP, LTD., dba Monkey, SNAP INC.,
 dba SNAPCHAT, JOHN & JANE DOES 1-
 10, Corporate COS., 1-10,

        Defendants.



                                  CONSENT TO REMOVAL

       Defendants Alphabet, Inc. and Google, LLC (collectively, “Google Defendants”), consent

to the removal of Cody Dahl et al. v. Alphabet, Inc. et al., Cause No. 423-9427 in the 423rd Judicial

District Court, Bastrop County, Texas, to this Court.

                                                        Respectfully submitted,


                                                        JACKSON WALKER LLP
                                                        100 Congress Avenue, Suite 1100
                                                        Austin, Texas 78701
                                                        (512) 236-2000
                                                        (512) 236-2002 – Fax


                                                        By: /s/ Joshua A. Romero
                                                            Joshua A. Romero – 24046754
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Case 1:23-cv-01496 Document 1-2 Filed 12/11/23 Page 4 of 4




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                                mfuller@jw.com

                                ATTORNEYS FOR DEFENDANTS
                                ALPHABET, INC. and GOOGLE, LLC




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